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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    *
                                            *
                                            *      Case No: 1:21-cr-00526-TSC-1
v.                                          *
                                            *
                                            *
JEFFERY FINLEY,                             *
     Defendant.                             *


                                        ORDER

       Upon consideration of the Second Unopposed Motion for a Three Day Extension

of Time for Jeffrey Finley to report to the federal institution, good cause

having been shown, it is on this 28th day of March, 2023, by the United

States District Court of the District of Columbia,

       ORDERED:

       1.     that the Motion is hereby GRANTED; and

       2.     that the United States Marshal shall inform the Bureau of Prisons that Mr.

Finley shall not be required to report to the Bureau of Prison until Thursday, March 30, 2023.




 Date: _3/28/2023______
                                            Tanya Chutkan
                                            HONORABLE TANYA S. CHUTKAN

                                            United States District Judge
